       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 1 of 19




                 UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF GEORGIA
                         GAINESVILLE DIVISION

  FAIR FIGHT, INC., SCOTT BERSON,
  JOCELYN HEREDIA, and JANE
  DOE,
                                              Case No. 2:20-CV-00302-SCJ
                       Plaintiffs,
           v.
  TRUE THE VOTE, CATHERINE
  ENGELBRECHT, DEREK
  SOMERVILLE, MARK DAVIS,
  MARK WILLIAMS, RON JOHNSON,
  JAMES COOPER, and JOHN DOES
  1–10,
                       Defendants,
  FAIR FIGHT ACTION, INC.,
                        Counter-Defendant.


                             PROTECTIVE ORDER

      After reviewing the Plaintiffs’ Motion for a Protective Order, this Court enters

the following Protective Order:

      1.        Scope and Third Parties. As used in this Order, the term “document”

shall mean all documents, electronically stored information, and tangible things

within the scope of Fed. R. Civ. P. 26(a)(1)(A)(ii) and 34(a)(1). A draft or

nonidentical copy is a separate document within the meaning of this term. All

documents produced in the course of discovery (“documents”) shall be subject to

this Order as set forth below. Any party to this case and all third parties who have
        Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 2 of 19




received subpoenas (collectively for purposes of this Order, “Designating Parties”)

may designate materials as “Confidential” or “ATTORNEYS’ EYES ONLY” under

this Order if they make a good faith determination that there is good cause to

designate such materials under the terms of this Order and pursuant to Fed. R. Civ.

P. 26(c). The designating party bears the burden of demonstrating that a designation

is appropriate, if challenged.

      This Order is subject to the Local Rules of this District and the Federal Rules

of Civil Procedure.

      2.     Confidential Material. Unless such information has previously been

deemed a public record by a federal or state court located in Georgia or is otherwise

publicly available, the following information contained in documents shall be

deemed confidential for purposes of this Order:

      a.     Particular Personal Information:

             i.       The personal telephone numbers of individuals;

             ii.      The personal email addresses of individuals or other contact

                      information used for electronic messaging; and

             iii.     Other information that is not public pursuant to federal or

                      Georgia law that could reveal the identity of a specific individual.




                                           -2-
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 3 of 19




     b.    Particular Information in Organizational Files:

           i.     Non-public information about Fair Fight, Inc.’s operations that

                  could impede legitimate operations of Fair Fight, Inc. if publicly

                  disclosed;

           ii.    Non-public information about Fair Fight Action, Inc.’s

                  operations that could impede legitimate operations of Fair Fight

                  Action, Inc. if publicly disclosed; and

           iii.   Non-public information about True the Vote, Inc.’s operations

                  that could impede the legitimate operations of True the Vote, Inc.

                  if publicly disclosed.

     c.    Such other information that the parties mutually agree in good faith

           meets the good cause standard and should be considered

           “Confidential.”

     d.    Nothing contained herein prohibits another party or third-party from

           designating materials if they make a good faith determination that there

           is good cause to designate such materials under the terms of this Order

           and pursuant to Fed. R. Civ. P. 26(c). The designating party bears the

           burden of demonstrating that a designation is appropriate, if challenged.

     3.    “ATTORNEYS’ EYES ONLY” MATERIAL: “ATTORNEYS’

EYES ONLY” material means information, documents, and things the designating
                                       -3-
        Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 4 of 19




party believes in good faith is not generally known to others and which the

designating party (i) would not normally reveal to third parties except in confidence

or has undertaken with others to maintain in confidence or (ii) believes in good faith

is sensitive and protected by a right to privacy under federal or Georgia law or any

other applicable privilege or right related to confidentiality or privacy.

“ATTORNEYS’ EYES ONLY” material does not include information that has

previously been deemed a public record by a federal or state court located in Georgia

or is otherwise publicly available. The designation is reserved for information that

constitutes proprietary or sensitive information that the producing party maintains

as confidential in the normal course of its operations such that disclosure could

impede legitimate operations, including but not limited to internal drafts of

documents reflecting organizational plans and strategy, organizational financial

information, lists of organizational members, lists of organizational donors, and

communications with strategic partners. “ATTORNEYS’ EYES ONLY” material

may include all information, documents, and things referring or relating to the

foregoing, including but not limited to copies, summaries, and abstracts of the

foregoing, and may be designated as such in the manner described in Section 5. The

following information may be deemed “ATTORNEYS’ EYES ONLY” material for

the purposes of this Order; however, the fact that such information is listed in this

Order shall not be construed as a waiver of a party’s objections to the production or
                                        -4-
        Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 5 of 19




disclosure of said information or as an agreement to produce such information absent

a further Order of this Court:

      a.     Particular Personal Information:

             i.     The social security numbers of individuals, in whole or in part;

             ii.    The driver’s license numbers of individuals;

             iii.   The birth date of individuals;

             iv.    Information that would compromise the secrecy of a voter’s

                    ballot if publicly disclosed;

             v.     Other government-issued unique identifiers of individuals; and

             vi.    Other information that is confidential pursuant to federal or

                    Georgia law that could reveal the identity of a specific individual.

      4.     Designation of “Confidential” Material and Application of

Confidentiality Provisions. The designation of material in the form of documents,

discovery responses, or other tangible material other than depositions or other

pretrial testimony shall be made by the designating party by affixing the legend

“Confidential” on each page containing information to which the designation

applies. The designation of deposition testimony shall be in accordance with

paragraph 6 below. All material designated “Confidential” that is not reduced to

documentary, tangible, or physical form or that cannot be conveniently designated

in the manner set forth above shall be designated by the designating party by
                                         -5-
        Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 6 of 19




informing the receiving party of the designation in writing. The confidentiality rules

in this Order will apply to all material marked “Confidential.”

      a.     Basic Principles. A receiving party may use “Confidential”

             information that is disclosed or produced by any designating party in

             connection with this case only for prosecuting, defending, or attempting

             to settle this litigation. “Confidential” material may be disclosed only

             to the categories of persons and under the conditions described in this

             Order. “Confidential” material must be stored and maintained by a

             receiving party at a location and in a secure manner that ensures that

             access is limited to the persons authorized under this agreement.

      b.     Disclosure of “Confidential” Information or Items. Unless

             otherwise ordered by the Court or permitted in writing by the

             designating party, any material designated “Confidential” may only be

             disclosed to:

             i.    counsel of record in this action, as well as employees and agents

                   of counsel to whom it is reasonably necessary to disclose the

                   information for this litigation;

             ii.   experts and consultants to whom disclosure is reasonably

                   necessary for this litigation and who have signed the

                   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                        -6-
 Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 7 of 19




     iii.   the Court, court personnel, and court reports and their staff;

     iv.    copy or imaging services retained by counsel to assist in the

            duplication of “Confidential” material;

     v.     during, or in preparation for, their depositions, witnesses in the

            action to whom disclosure is reasonably necessary and who have

            signed the “Acknowledgement and Agreement to Be Bound”

            (Exhibit A), unless otherwise agreed by the designating party or

            ordered by the Court;

     vi.    the author or recipient of a document containing the information

            or a custodian or other person who otherwise possessed or knew

            the information;

     vii.   Parties, only after execution of the “Acknowledgement and

            Agreement to Be Bound” (Exhibit A); and

     viii. employees, officers, representatives, and directors of Parties only

            after execution of the “Acknowledgment and Agreement to Be

            Bound” (Exhibit A).

c.   Filing “Confidential” Material. With the exception of Particular

     Personal Information, before filing “Confidential” material or

     discussing or referencing such material in court filings, the filing party

     shall confer with the designating party to determine whether the
                                 -7-
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 8 of 19




            designating party will remove the “Confidential” designation, whether

            the document can be redacted, or whether a motion to seal is warranted.

            If the parties cannot agree on the handling of “Confidential” material in

            court filings, then the party seeking to file such material must either

            move to file the material under seal or for a court order permitting filing

            on the public record. With respect to Particular Personal Information,

            any such information included in a Court filing shall be redacted

            without the need for any meet and confer process.

      5.    Designation of “ATTORNEYS’ EYES ONLY” Material and

Application of “ATTORNEYS’ EYES ONLY” Provisions. The designation of

material in the form of documents, discovery responses, or other tangible materials

other than depositions or other pre-trial testimony shall be made by the designating

party by affixing the legend “ATTORNEYS’ EYES ONLY” on each page

containing information to which the designation applies. The designation of

deposition testimony shall be in accordance with paragraph 6 below. All material

designated “ATTORNEYS’ EYES ONLY” that is not reduced to documentary,

tangible, or physical form or that cannot be conveniently designated in the manner

set forth above shall be designated by the designating party by informing the

receiving party of the designation in writing. All documents designated

“ATTORNEYS’ EYES ONLY” by any party shall be governed by this section.
                                        -8-
 Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 9 of 19




a.   Basic Principles. A receiving party may use “ATTORNEYS’ EYES

     ONLY” material that is disclosed or produced by another party or by a

     non-party in connection with this case only for prosecuting, defending,

     or attempting to settle this litigation. “ATTORNEYS’ EYES ONLY”

     material may be disclosed only to the categories of persons and under

     the conditions described in this Order. “ATTORNEYS’ EYES ONLY”

     material must be stored and maintained by a receiving party at a

     location and in a secure manner that ensures that access is limited to the

     persons authorized under this agreement.

b.   Disclosure of “ATTORNEYS’ EYES ONLY” Information or

     Items. Unless otherwise ordered by the Court or permitted in writing

     by the designating party, any material designated “ATTORNEYS’

     EYES ONLY” may only be disclosed to:

     i.     counsel of record in this action, as well as employees and agents

            of counsel to whom it is reasonably necessary to disclose the

            information for this litigation;

     ii.    experts and consultants to whom disclosure is reasonably

            necessary for this litigation and who have signed the

            “Acknowledgment and Agreement to Be Bound” (Exhibit A);

     iii.   the Court, court personnel, and court reporters and their staff;
                                 -9-
Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 10 of 19




     iv.    copy or imaging services retained by counsel to assist in the

            duplication of “ATTORNEYS’ EYES ONLY” material;

     v.     during their depositions, witnesses in the action to whom

            disclosure is reasonably necessary and who have signed the

            “Acknowledgment and Agreement to Be Bound” (Exhibit A),

            unless otherwise agreed by the designating party or ordered by

            the Court;

     vi.    the author or recipient of a document containing the information

            or a custodian or other person who otherwise possessed or knew

            the information;

     vii.   E-discovery    vendors,     only   after   execution     of     the

            “Acknowledgement and Agreement to Be Bound” (Exhibit A).

c.   Filing “ATTORNEYS’ EYES ONLY” Material.                Before        filing

     “ATTORNEYS’ EYES ONLY” material or discussing or referencing

     such material in court filings, the filing party shall confer with the

     designating party to determine whether the designating party will

     remove the “ATTORNEYS’ EYES ONLY” designation, whether the

     document can be redacted, or whether a motion to seal is warranted. If

     the parties cannot agree on the handling of “ATTORNEYS’ EYES

     ONLY” material in court filings, then the party seeking to file such
                               - 10 -
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 11 of 19




               material must either move to file the material under seal or for a court

               order permitting filing on the public record.

      6.       Designation of Deposition Testimony. In order to designate

deposition testimony as “Confidential” or “ATTORNEYS’ EYES ONLY,” the

designating party shall give prompt notice that it will seek the protections of this

Order either at the deposition or within twenty-one (21) days after receipt of the

deposition transcript, in accordance with the provisions and restrictions of this

Order. Unless otherwise designated at or during the deposition, all deposition

testimony shall be treated as if designated “Confidential” until the expiration of such

twenty-one (21) day period.

      7.       Documents, Things, and Information Produced by Non-Parties.

Any party may designate as “Confidential” any documents or things produced by a

non-party in this action that contain information deemed “Confidential” by the

designating party by providing written notice of the designation to all counsel of

record and to counsel for the disclosing non-party within thirty (30) days after the

designating party receives the produced document or thing. If no party designates

the document or thing as “Confidential” within the thirty (30) day period, and if the

disclosing non-party has not designated the document or thing as “Confidential,”

then the document or thing shall be considered not to contain any “Confidential”

information.
                                         - 11 -
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 12 of 19




      8.     Use of Documents Containing Redacted Confidential Information.

The parties and their counsel and experts agree to redact confidential information

from documents before: (a) using such documents at trial, any hearing, or any court

proceeding; (b) attaching such documents to any pleading or filing; or (c) using such

documents in any other way where the documents could be seen by the public or by

anyone not bound by this Order.

      9.     Other Redactions. Nothing in this Order precludes the parties from

making redactions for privilege or for other legally permissible reasons before

documents are produced.

      10.    Inadvertent Disclosure.

      a.     “Confidential” and “ATTORNEYS’ EYES ONLY.” A party that

             has   inadvertently     produced     “Confidential”    Information   or

             “ATTORNEYS’ EYES ONLY” Information without so designating it

             may at any time re-designate such information as “Confidential” or

             “ATTORNEYS’ EYES ONLY.” The inadvertent or unintentional

             disclosure of “Confidential” or “ATTORNEYS’ EYES ONLY”

             Information shall not be deemed a waiver, in whole or in part, of any

             party’s claims of confidentiality. If a party inadvertently or

             unintentionally      produces      “Confidential”     Information    or

             “ATTORNEYS’ EYES ONLY” Information without designating it as
                                       - 12 -
Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 13 of 19




     such in accordance with the provisions of this Order, that party shall

     promptly upon discovery, either: (a) demand the return of the

     “Confidential” or “ATTORNEYS’ EYES ONLY” Information; or (b)

     furnish a properly marked substitute copy, along with written notice to

     all Parties that such document or information is deemed “Confidential”

     or “ATTORNEYS’ EYES ONLY” and should be treated as such in

     accordance with the provisions of this Order. Each receiving party must

     treat    such   document    or      information   as   “Confidential”   or

     “ATTORNEYS’ EYES ONLY” from the date such notice is received,

     but each receiving party shall have no liability for any disclosures of

     such information that were made prior to re-designation. Disclosure of

     “Confidential” or “ATTORNEYS’ EYES ONLY” Information prior to

     the receipt of such notice, if known, shall be reported to the designating

     party.

b.   Information Subject to a Claim of Privilege or Protection as Trial-

     Preparation Material. In the event that information subject to a claim

     of privilege or protection as trial-preparation material is produced in the

     course of this litigation, and consistent with Federal Rule of Evidence

     502(b), the production does not operate as a waiver if (1) the disclosure

     was inadvertent; (2) the holder of the privilege or protection took
                                - 13 -
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 14 of 19




             reasonable steps to prevent disclosure; and (3) the holder of the

             privilege or protection took reasonable steps to rectify the error,

             including following Federal Rule of Civil Procedure 26(b)(5)(B).

      11.    Challenge of “Confidential” or “ATTORNEYS’ EYES ONLY”

Designations. Any party who wishes to challenge the propriety of the designation

of Information as “Confidential” or “ATTORNEYS’ EYES ONLY” may do so by

providing written notice to the producing party at any time up to ten (10) days before

the pretrial conference or ten (10) days before trial, whichever is earlier. The notice

shall (a) attach a copy of each document subject to challenge or identify each such

document by production number or other appropriate designation, and (b) set forth

the reason for such objection. The objecting party and the producing party shall

attempt in good faith to resolve any challenge on an informal basis. If an agreement

cannot be reached, the objecting party may seek a decision from the Court with

respect to the propriety of the designation. The subject material will continue to be

protected under this Protective Order until the Court orders otherwise.

      12.    No Waiver. The inadvertent failure to assert a claim of attorney-client

privilege or protection under the work product doctrine shall not constitute a waiver

of the right to claim a privilege or protection. Any party may challenge any such

claim of privilege or protection on any ground.


                                        - 14 -
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 15 of 19




      13.    Order Remains in Effect. This Order shall remain in effect throughout

the course of this litigation and during any appeals. Following the termination of this

litigation, the Order shall remain in effect for confidential information derived from

properly designated documents, and the Court shall retain jurisdiction to enforce this

provision.

      14.    Destruction of Un-Redacted Documents Containing Confidential

Information. This Paragraph applies to documents that contain un-redacted

“Confidential” or “ATTORNEYS EYES ONLY” information. Within ninety days

after final disposition of this case not subject to further appeal, the parties and their

counsel and experts, and all other persons having possession, custody, or control of

such documents, shall either: (a) return all such documents and any copies thereof

to the individual or entity that produced the documents; or (b) destroy hard copies

of such documents and all copies thereof with a shredder and make reasonable efforts

to delete all electronic copies of such documents from all systems and databases.

Notwithstanding the above requirement, the parties are entitled to retain (a) one copy

of pleadings containing un-redacted confidential information and (b) un-redacted

confidential information that is incorporated in attorney work product so long as the

parties restrict access to such information to those persons who are permitted access

under the Order.


                                         - 15 -
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 16 of 19




      15.    Action by the Court. Nothing in this Order or any action or agreement

of a party under this Order limits the Court’s power to make any orders that may be

appropriate with respect to the use and disclosure of any documents produced or

used in discovery or at trial, including the ability to order removal of a “Confidential”

or “ATTORNEYS’ EYES ONLY” designation.

      16.    Order Subject to Modification. This Order shall be subject to

modification by the Court on its own motion or on motion of any party or any other

person with standing concerning the subject matter.

      17.    No Prior Judicial Determination. This Order is entered based on the

presentations and agreements of the parties and for the purpose of facilitating

discovery. Nothing herein shall be construed or presented as a judicial determination

that any confidential documents or information are subject to protection under Rule

26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

      18.    Persons Bound and Retroactivity. This Order shall take effect when

entered and shall be binding upon all counsel and their law firms, the parties and

their employees, officers, directors, and agents, testifying and non-testifying experts,

and persons made subject to this Order by its terms. This Order shall apply to all

documents in this litigation, including any “Confidential” or “ATTORNEYS’ EYES


                                         - 16 -
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 17 of 19




ONLY” Information, appropriately marked as such, that was produced prior to the

Order being signed.



ORDERED, this 3rd day of May, 2021.

                                        /s/____________
                                            Steve C. Jones
                                        Hon. Steve Jones
                                        United States District Judge
                                        Northern District of Georgia




                                    - 17 -
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 18 of 19




               UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

  FAIR FIGHT, INC., SCOTT BERSON,
  JOCELYN HEREDIA, and JANE
  DOE,
                                              Case No. 2:20-CV-00302-SCJ
                     Plaintiffs,
        v.
  TRUE THE VOTE, CATHERINE
  ENGELBRECHT, DEREK
  SOMERVILLE, MARK DAVIS,
  MARK WILLIAMS, RON JOHNSON,
  JAMES COOPER, and JOHN DOES
  1–10,
                     Defendants,
  FAIR FIGHT ACTION, INC.,
                     Counter-Defendant.


        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

      The undersigned hereby acknowledges that he/she has read the Stipulated

Protective Order dated March ____, 2021 in the above-captioned action and attached

hereto, understands the terms thereof, and agrees to be bound by its terms. The

undersigned submits to the jurisdiction of the United States District Court for the

Northern District of Georgia in matters relating to the Stipulated Protective Order.

      The undersigned hereby acknowledges that violation of the Stipulated

Protective Order may result in penalties for contempt of court or any other penalty
       Case 2:20-cv-00302-SCJ Document 99 Filed 05/03/21 Page 19 of 19




otherwise imposed by the United States District Court for the Northern District of

Georgia.

Signed: _______________________ by _______________________ (print name)

Business Address: ___________________________________________________

Date: ________________________




                                      - 19 -
